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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

NICHOLAS MARTIN on behalf of himself and          )
others similarly situated,                        ) 1:10‐cv‐7725
     Plaintiff,                                   )
                                                  )
            v.                                    )
                                                  ) JURY DEMANDED
BUREAU OF COLLECTION RECOVERY, LLC,               )
     Defendant.                                   )
                                                  )

                                            COMPLAINT

                                           CLASS ACTION

       1.        Plaintiff Nicholas Martin brings this action against Bureau of Collection Recovery,

LLC (“BCR”) to secure redress for violation of the Telephone Consumer Protection Act, 47 U.S.C.

§ 227 (“TCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

       2.        The defendant debt collection agency has engaged in multiple impermissible

autodialed and prerecorded message “robocalls” to plaintiff and others' cell phones, in

violation of 47 U.S.C. §227(b). It called plaintiff more than forty one times using this illegal

equipment after plaintiff requested that he not be contacted by telephone.

       3.        What is more, none of the nineteen prerecorded messages BCR left on plaintiff’s

cellular telephone voice mail for which plaintiff has copies disclose that BCR is a debt collection

agency, as required by the FDCPA, 15 U.S.C. §1692e(11).




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                                     JURISDICTION AND VENUE

        4.      The Court has federal question jurisdiction over the FDCPA and TCPA claims. Brill

v. Countrywide Home Loans, Inc., 427 F.3d 446 (7th Cir. 2005). If Brill were to be abrogated or

overruled, there is supplemental jurisdiction over the TCPA claims.

        5.      Venue is proper because a substantial portion of the events complained of

occurred in this District.

                                                PARTIES

        6.      Plaintiff is an individual who resides in this District.

        7.      BCR is a debt collection agency located in Minnesota.

                                                 FACTS

        8.      The TCPA prohibits the use of “automatic telephone dialing systems” to call

cellular telephones.    The Federal Communications Commission (“FCC”) has held that any

telephone system that has “the capacity to dial numbers without human intervention” falls

within the prohibition in 47 U.S.C. § 227(b). In re Rules and Regulations Implementing the

TCPA, GC Docket 02‐279, ¶ 13 (January 4, 2008).

        9.      For purposes of this complaint, the term “Dialer” refers to a system that has the

capacity to dial numbers without human intervention. In other words, the Dialer, rather than a

human being, dials the telephone numbers.

        10.     Upon information and belief, based upon Exhibit A, BCR has at least four

telephone systems that it uses for calling debtors, all of which are located in Minnesota; two in

Edina, Minnesota and two in Eden Prairie, Minnesota.




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       11.     Each of BRC’s four “Avaya” telephone systems listed in Exhibit A are “Dialers” as

defined above.

       12.     Upon information and belief, most of the telephone calls made through BCR’s

Dialers are made as part of a dialing campaign. This means that a representative of BCR selects

a group of persons or accounts to call based upon certain criteria.

       13.     The Dialer(s) then intelligently decide when a debt collection call will likely be

effective to collect a debt for a particular debtor/number (for example, when the debtor is

likely near her telephone), and dials the telephone numbers according to this determination.

       14.     When someone answers a call made during a campaign, either the call is

forwarded to an operator (likely to happen if there is an operator available), or a prerecorded

message is played.

       15.     On August 13, 2010, plaintiff called BCR. BCR immediately identified plaintiff’s

incoming phone number, as that of plaintiff. Plaintiff told the BCR representative that it should

change its address for him, and that he could be reached by mail at a post office box address.

The representative told plaintiff that a validation letter would be sent to that address, and

indicated that plaintiff’s address had been updated in defendant’s system.

       16.     That same day, after the phone call, plaintiff made a written demand that BCR

cease calling him. Plaintiff’s fax requested verification of the debt, and also stated, among

other things, “please take notice that any phone calls are inconvenient. As such, please refrain

from placing such calls.”

       17.     Upon information and belief, based upon the fax transmission verification

report, defendant received this fax.

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       18.   Despite having received the fax, defendant called plaintiff on numerous

occasions.

       19.   BCR called plaintiff using its Dialer on 8/13/2010 at approximately 17:20.

       20.   BCR called plaintiff using its Dialer on 8/16/2010 at approximately 19:23.

       21.   BCR called plaintiff using its Dialer on 8/17/2010 at approximately 20:22.

       22.   BCR called plaintiff using its Dialer on 8/19/2010 at approximately 19:05.

       23.   BCR called plaintiff using its Dialer on 8/20/2010 at approximately 18:38.

       24.   BCR called plaintiff using its Dialer on 8/23/2010 at approximately 17:12.

       25.   BCR called plaintiff using its Dialer on 8/24/2010 at approximately 18:23.

       26.   BCR called plaintiff using its Dialer on 8/25/2010 at approximately 15:32.

       27.   BCR called plaintiff using its Dialer on 8/26/2010 at approximately 15:28.

       28.   BCR called plaintiff using its Dialer on 8/27/2010 at approximately 15:23.

       29.   BCR called plaintiff using its Dialer on 8/30/2010 at approximately 19:37.

       30.   BCR called plaintiff using its Dialer 8/31/2010 at approximately 19:23.

       31.   BCR called plaintiff using its Dialer on 9/3/2010 at approximately 16:44.

       32.   BCR called plaintiff using its Dialer on 9/7/2010 at approximately 20:07.

       33.   BCR called plaintiff using its Dialer on 9/8/2010 at approximately 16:56.

       34.   BCR called plaintiff using its Dialer on 9/10/2010 at approximately 15:47.

       35.   BCR called plaintiff using its Dialer 9/12/2010 at approximately 16:07.

       36.   BCR called plaintiff using its Dialer on 9/14/2010 at approximately 16:08.

       37.   BCR called plaintiff using its Dialer 9/16/2010 at approximately 19:27.

       38.   BCR called plaintiff using its Dialer on 9/20/2010 at approximately 16:45.

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 39.   BCR called plaintiff using its Dialer 9/21/2010 at approximately 18:17.

 40.   BCR called plaintiff using its Dialer on 9/22/2010 at approximately 17:16.

 41.   BCR called plaintiff using its Dialer on 9/23/2010 at approximately 14:51.

 42.   BCR called plaintiff using its Dialer on 9/24/2010 at approximately 9:49.

 43.   BCR called plaintiff using its Dialer on 9/27/2010 at approximately 10:05.

 44.   BCR called plaintiff using its Dialer on 9/28/2010 at approximately 16:17.

 45.   BCR called plaintiff using its Dialer on 9/29/2010 at approximately 9:00.

 46.   BCR called plaintiff using its Dialer on 9/30/2010 at approximately 19:56.

 47.   BCR called plaintiff using its Dialer on 10/4/2010 at approximately 9:43.

 48.   BCR called plaintiff using its Dialer on 10/5/2010 at approximately 19:20.

 49.   BCR called plaintiff using its Dialer on 10/7/2010 at approximately 12:04.

 50.   BCR called plaintiff using its Dialer on 10/12/2010 at approximately 10:16.

 51.   BCR called plaintiff using its Dialer on 10/13/2010 at approximately 15:38.

 52.   BCR called plaintiff using its Dialer on 10/20/2010 at approximately 19:06.

 53.   BCR called plaintiff using its Dialer on 11/2/2010 at approximately 20:16.

 54.   BCR called plaintiff using its Dialer on 11/5/2010 at approximately 9:20.

 55.   BCR called plaintiff using its Dialer on 11/17/2010 at approximately 19:18.

 56.   BCR called plaintiff using its Dialer on 11/18/2010 at approximately 19:32.

 57.   BCR called plaintiff using its Dialer on 11/29/2010 at approximately 19:08.

 58.   BCR called plaintiff using its Dialer on 11/30/2010 at approximately 20:16.

 59.   In addition, there are almost certainly more calls of which plaintiff is not aware.




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       60.     Upon information and belief, BCR used one of the Dialers described in Exhibit A

for each of these calls.

       61.     Upon information and belief, defendant has called more than 100 cellular

numbers within the 630 area code in 2010, using one of its Dialers.

                                     COUNT I – TCPA

       62.     Plaintiff incorporates all previous paragraphs of this complaint.

       63.     It is a violation of the TCPA, 47 U.S.C. §227(b) to call a person's cellular telephone

using an automatic telephone dialing system or prerecorded or artificial voice message.

       64.     Plaintiff and the class are entitled to have their rights, status and legal relations

under the TCPA relating to defendant's calling of cell phones using an automatic dialing system

and/or artificial or prerecorded voice message.

       65.     The defendant's calls were negligent, or alternatively, they were willful. 47

U.S.C. §312(f)(1).

                                           Class Allegations

       66.     Plaintiff brings Count I on behalf of a class and a subclass, which consists of:

       All persons with area code 630 telephone numbers who defendant or some person on
       its behalf called on their cell phone using a Dialer and prerecorded or artificial voice
       message, where defendant cannot prove that it had the prior express consent of the
       called party, where any call was made between and including December 6, 2006, and
       December 6, 2010.

             Plaintiff alleges a subclass of persons who defendant called using the proscribed
       equipment after defendant had been instructed to stop calling.




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       67.      Common questions of law and fact exist as to all members of the class and

predominate over any questions solely affecting any individual member of the class, including

plaintiff. Such questions common to the Class include, but are not limited to:

                a.     Whether defendant used an automatic telephone dialing system or

                prerecorded or artificial voice message as those terms are defined in the TCPA

                and applicable FCC regulations and orders; and

                b.     Damages, including whether the violation was willful.

       68.      Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

no interests that might conflict with the interests of the class. Plaintiff is interested in pursuing

his claims vigorously, and has retained counsel competent and experienced in class and

complex litigation.

       69.      Class action treatment is superior to the alternatives for the fair and efficient

adjudication of the controversy alleged herein. Such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the duplication of effort and expense that numerous individual actions

would entail.

       70.      No difficulties are likely to be encountered in the management of this class

action that would preclude its maintenance as a class action, and no superior alternative exists

for the fair and efficient adjudication of this controversy.

       71.      Defendant has acted on grounds generally applicable to the class, thereby

making relief appropriate with respect to the class as a whole. Prosecution of separate actions

by individual members of the class, should they realize their rights have been violated, would

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likely create the risk of inconsistent or varying adjudications with respect to individual members

of the class that would establish incompatible standards of conduct.

       72.     The identity of the class is likely readily identifiable from defendant's records.

       73.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable.

       WHEREFORE, plaintiff requests that the Court enter judgment in favor of himself and

the class and against defendant that provides the following relief:

               a.      Statutory damages of $500 per violation, and up to $1,500 per violation if

               proven to be willful;

               b.      A permanent injunction prohibiting defendant from violating the TCPA in

               the future through calling cellular phones using an automatic telephone dialing

               system and/or a prerecorded voice message; and

               c.      Any other relief the Court finds just and proper.

                                    COUNT II – FDCPA

       74.     Plaintiff incorporates all previous paragraphs of this complaint.

       75.     Defendant left voice mails for plaintiff that did not include the “we are a debt

collector” language required by 15 U.S.C. §1692e(11), and therefore violated the FDCPA.

       76.     Defendant also continued contacting plaintiff, even though it had actual

knowledge he had not received notice pursuant to section 1692g. Upon information and belief,

based upon the fact that plaintiff never received one, defendant never sent a § 1692g

validation letter to plaintiff’s PO box.


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       WHEREFORE, plaintiff requests that the Court enter judgment in favor of himself against

defendant that provides the following relief:

           a. Statutory damages;

           b. Attorney’s fees and costs of suit; and

           c. Any other relief the Court finds just and appropriate.


                                                       Respectfully submitted,

                                                       Alexander H. Burke
Alexander H. Burke
BURKE LAW OFFICES, LLC
155 N. Michigan Ave., Suite 9020
Chicago, IL 60601
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(312) 729‐5289 (fax)
ABurke@BurkeLawLLC.com

                                         JURY DEMAND

              Plaintiff demands trial by jury.

                                                       Alexander H. Burke
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                             DOCUMENT PRESERVATION DEMAND

        Plaintiff hereby demands that the defendant take affirmative steps to preserve all
recordings, data, emails, recordings, documents and all other tangible things that relate to the
allegations herein, plaintiff or the putative class members, or the making of telephone calls, the
events described herein, any third party associated with any telephone call, campaign, account,
sale or file associated with plaintiff or the putative class members, and any account or number
or symbol relating to any of them. These materials are very likely relevant to the litigation of
this claim. If defendant is aware of any third party that has possession, custody or control of
any such materials, plaintiff demands that defendant request that such third party also take
steps to preserve the materials. This demand shall not narrow the scope of any independent
document preservation duties of the defendant.

                                                    /s/Alexander H. Burke




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              Exhibit A
         Case:
Publtc Utility   1:10-cv-07725
               Commission       Document
                          of Texas - ADAD #: 1 Filed: 12/06/10 Page 12 of 14 PageID #:1
                                          Registration                               Page 1 of 3

                                                                                                                            rj„a




                                    Public Utility Commission Of Texas                                                      ^-- ^
                                                      ADAD Registration                                                                                _
                                                          Project 37833                                                 r          -                  k^..^



  Company Information                                                                                                       r"_                       rn
                                                                                                                                                      0
                             BUREAU OF COLLECTION RECOVERY                 Electronic                                                         Ln
           Company Name:
                            LLC
                                                                        Submissions:
         PUC Tracking No.: AD060070                                         Last Submitted: Never Submitted
        Organization Type: Limited Liability Company, L.L.C                      Submissions: 0


 NOTE: For changes to business entity, state of incorporation, identification numbers, or business or professional certificates please
 convey information in the note field in the Affirmation section below. Thank you.


                                                      Additional Names                                                                        16)

        Add Record

  ction       om an DBA Additional Names Information


  Company
  Addresses
  and
  Contact
  Information

 yLI]                  Add Record
 Action      Address Information
                         Company / Physical            Non Emergency                                                           _QA
              Company: BUREAU OF COLLECTION RECOVERY LLC                                                                               EDIT
                Contact: SAMEER MAINI
                   Title:
              Addressl: 7575 CORPORATE WAY
              Address2:

                City, St EDEN PRAIRIE MN , 55344
                    Zip:
               Website: www.bureauofcollection.com
                  Email: smaini@bureauofcollection.com
                   Main: (952) 259-1162                                Home:
              Toll-Free:                                                 Cell:
                    Fax: (952) 259-1191

                                                                                                                                              1;{^1
   Adad Units

        Add Record

  Action      Address Information

   ^                                                                                                                                      x
               Provider: Nobel Biz, Global Crossing                       Manufacturer: AVAYA

               Serial No: VERSION 12-5000                   FCC/ACTA Registration No: AWYUSA-7400-MA-T                                   EDIT
                          ADAD Physical Address
                          BUREAU OF COLLECTION                                       Main: (952) 259-1162
              Company:
                          RECOVERY LLC
               Contact: SAMEER MAINI                                             Alternate:
              Addressl: 7575 CORPORATE WAY                                             Fax: (952) 259-1191
              Address2:                                                                Cell:
                City, St                                                            Home:
                               PRAIRIE MN , 55344
                    Zip.,
               Website:                                                              Email: smaini@bureauofcollection.com


   ^                                                                                                                                      X



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, Public Utility   1:10-cv-07725
                 Commission       Document
                            of Texas - ADAD #: 1 Filed: 12/06/10 Page 13 of 14 PageID #:1
                                            Registration                              Page 2 of 3



               Provider: NOBEL BIZ,                                         Manufacturer: AVAYA

              Serial No: 5000 VERSION 12                     FCC/ACTA Registration No:AV1USA-28011-MA-T
                                                                                                                               EDIT
                         ADAD Physical Address
                                OF COLLECTION
              Company: BUREAU                                                         Main: (952) 259-1162
                         RECOVERY LLC
               Contact: SAMEER MAINI                                             Alternate:
              Addressi: 7575 CORPORATE WAY                                             Fax: (952) 259-1191
              Address2:                                                                Cell:
                City, St
                    Zip: EDEN PRAIRIE MN , 55344                                     Home:

                Website:                                                             Email: smaini@bureauofcollection.com


    J                                                                                                                          X
               Provider: TWTelecom Nobel Biz                                Manufacturer: Avaya

              Serial No: 5000 version 12                     FCC/ACTA Registration No: AVIUSA-7400-MA-T
                                                                                                                               EDIT
                          ADAD Physical Address
              Company: TW TELECOM                                                     Main: (952) 259-1162
                Contact: SAMEER MAINI                                            Alternate:
              Address1:5480 FELTL ROAD                                                 Fax:
              Address2:                                                                Cell:
                 City,
                       StMINNETONKA MN , 55343                                       Home:
                     Zip:
               Website:                                                              Email: smaini@bureauofcollection.com

                                                                                                                               X
               Provider: Tw Telecom, Nobel Biz                              Manufacturer: AVAYA

               Serial No: 5000 VERSION 12                    FCC/ACTA Registration No: AVIUSA-7400-MA-T
                                                                                                                               EDIT
                          ADAD Physical Address
              Company: TW TELECOM                                                     Main: (952) 259-1162
                Contact: SAMEER MAINI                                            Alternate:
              Address1:5480 FELTL ROAD                                                 Fax:
              Address2:                                                                Cell:
                 City, St
                          MINNETONKA MN 55343                                        Home:
                     Zip:
               Website:                                                              Email: smaini@bureauofcollection.com



                                                 Adad Data File Uploader                                                           !^►^
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               By submitting this report, I swear and affirm that all statements and representations
               submitted herein are true and correct to the best of my knowledge.
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                     record        record.
                     Show Help     Toggle the help section ON or OFF.


   Comments:
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                            of Texas - ADAD #: 1 Filed: 12/06/10 Page 14 of 14 PageID #:1
                                            Registration                              Page 3 of 3




      Name: Leanne Kopischke

       Title: rVice President

       Affirm 7/12/2010 5:43:55 PM
        Date:




                                                 Registration Has Been Submitted'
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